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  1200/18-7152.S/kmc/bja

                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

   WILLIAM BARNHOUSE,                  )
                 Plaintiff,            )
                 v.                    ) Cause No.: 1:19-CV-00958-TWP-DLP
                                       )
   CITY OF MUNCIE, FONDA KING, STEVE   )
   STEWART, GORDON WATTERS, JOSEPH     )
   TODD, STEVE BLEVINS, DONALD BAILEY, )
   TERRY WINTERS, CARL SOBIERALSKI,    )
   AS-YET UNIDENTIFIED MUNCIE POLICE   )
   OFFICERS, and AS-YET UNIDENTIFIED   )
   EMPLOYEES OF THE INDIANA STATE      )
   POLICE CRIME LAB,                   )
                     Defendants.       )
                                                 ORDER

         THIS MATTER coming before the Court on the Parties’ Joint Motion to Extend Case

  Management Deadlines, Continue Settlement Conference, and Continue Trial Date as follows:

         a.      Non-expert and liability discovery to be completed by August 4, 2020;

         b.      Plaintiff’s expert disclosures by August 4, 2020;

         c.      Statement of claims or defenses to be proven at trial by August 11, 2020;

         d.      Dispositive motion deadline by October 5, 2020;

         e.      Defendants’ expert disclosures by October 6, 2020;

         f.      Plaintiff’s rebuttal expert witness disclosures by November 4, 2020;

         g.      Final witness and exhibit lists by December 4, 2020;

         h.      Expert witness discovery and damages discovery to be completed by January 5,

                 2021;

         i.      All remaining discovery to be completed by February 3, 2021; and

         j.      Deadline to limit or preclude expert testimony at trial by March 5, 2021; and

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           The settlement conference set for April 22, 2020 is hereby VACATED.


           The final pretrial set January 13, 2021 and the jury trial set February 8, 2021 are

  VACATED. The final pretrial is RESCHEDULED to May 19, 2021 at 10:00 a.m. in Room 330.

  The jury trial is RESCHEDULED to June 14, 2021 at 9:00 a.m. in Courtroom 344, Birch Bayh

  Federal Building and U.S. Courthouse, Indianapolis, Indiana. The Parties should anticipate no

  further extensions.
             IT IS HEREBY ORDERED that said Motion is GRANTED.


                Date: 2/3/2020

                                                                   ________________________
                                                                   Hon. Tanya Walton Pratt, Judge
                                                                   United States District Court
                                                                   Southern District of Indiana




  Distribution:
  To all electronically registered counsel
  20-01-31 Proposed Order 7152




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